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                             EXHIBIT

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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

        SAFETY VISION, LLC                     §
        Plaintiff,                             §
                                               §
        v.                                     §      CIVIL ACTION NO.
                                               §      4:21-cv-03306
                                               §
        LEI TECHNOLOGY CANADA                  §
        AND LANNER ELECTRONICS,                §
        INC.,                                  §
              Defendants.                      §


PLAINTIFF SAFETY VISION, LLC’S REQUEST FOR PRODUCTION TO
   DEFENDANT, LEI TECHNOLOGY CANADA AND ITS PARENT
           COMPANY, LANNER ELECTRONICS, INC.

To:     Defendant, LEI Technology Canada, through its attorneys of record:

        Staci Vetterling
        Darrell L. Barger
        HARTLINE BARGER L.L.P.
        1980 Post Oak Blvd., Suite 1800
        Houston, Texas 77056

         Safety Vision, LLC (“SV”), Plaintiff, by and through its attorney of record,

hereby serves this first set of Request for Production on LEI Technology Canada

(“LEI” or “Defendant’), as authorized by Federal Rule of Civil Procedure 34. As

required by Rule 34(b), Defendant must produce all requested documents,

electronically stored information, or tangible things within 30 days after service of

this request, at the office of at the offices of Plaintiff’s attorney, or at another time

and place agreed on by the parties.

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                                       Respectfully submitted,


                                       /s/ Patrick J. McGettigan
                                       Patrick J. McGettigan
                                       Tx. State Bar No. 13624500
                                       2802 Flintrock Trace
                                       Suite 367
                                       Austin, Texas 78738

                                       512-476-1121 Telephone
                                       512-748-8371 Mobile
                                       pmcgettigan@inhousegc.com

                                       ATTORNEY FOR PLAINTIFF
                                       SAFETY VISION, LLC




                         CERTIFICATE OF SERVICE

This is to certify that on this the 9th day of October 2022, a true and correct copy
of the above and foregoing was served on all counsel of record in accordance with
the Federal Rules of Civil Procedure.

Darrell L. Barger
dbarger@hartlinebarger.com

Staci svetterling@hartlinebarger.com

HARTLINE BARGER L.L.P.
1980 Post Oak Blvd., Suite 1800
Houston, Texas 77056

                                              /s/Patrick J. McGettigan
                                              Patrick J. McGettigan

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                                     I. Definitions

The following terms have the following meanings, unless the context requires
otherwise:

1.     Parties. The term "plaintiff" or "defendant," as well as a party's full or

abbreviated name or a pronoun referring to a party, means the party and, when

applicable, his or its agents, representatives, officers, directors, employees,

partners, corporate parent, subsidiaries, or affiliates. This definition is not intended

to impose a discovery obligation on any person who is not a party to the litigation.

2.     Person. The term "person" means any natural person, a business, a legal or

governmental entity, or an association.

3.     Term or Terms.

Unless the context is otherwise:

       (a) The terms "you" and "your" mean the Defendant, LEI, a subsidiary of
Lanner Electronics, Inc. and Lanner Electronics, Inc. , and its agents, representatives,
attorneys, experts, and other persons acting or purporting to act on Defendant’s
behalf.

      (b) The term “Safety Vision” or “SV” means Plaintiff Safety Vision, LLC,
a Texas limited liability company.

      (c) The term “ODM Agreement ” means the contract dated January 7, 2016
and Exhibits thereto which agreement is referenced in Plaintiff’s Original Petition,
including any contract modification or amendment thereafter.

      (d) The term “equipment” or “Product” means as defined in the ODM Sec.
1.1 and Exhibit A, quoted as follows:
            Product: The term "Product" means the products
            described in Exhibit A and any other products
            provided to Company by LEI under this Agreement
            and related equipment and any revisions,

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             enhancements and options thereto made available by
             LEI with Company consent.

      (e) The terms “specifications of the equipment or product” means, unless
otherwise stated, the technical specifications as set forth in the ODM Agreement and
written communications thereafter.

      (f)    The terms “performance reports” means those written documents
providing reports from LEI or Lanner, including but not limited to Root Cause, Root
Cause Analysis, Corrective Action showing the data or other information from said
Products or other reports.

        (f.1) The term “reported Product failures” means and refers to the
communications made by and between SV and LEI/Lanner relating to proposals,
testing and efforts made by Safety Vision in response to customer complaints and
criticisms on or after June 2019 of the existing NVR recorder reported product
failures.


      (g)    The term "material" means all documents, electronically stored

information, or tangible things. The term is synonymous with and equal in scope to

the usage of "documents, electronically stored information, or tangible things" in

Federal Rule of Civil Procedure 34(a). A draft or nonidentical copy of a document,

electronically stored information, or a tangible thing is a separate item within the

meaning of this term.

      (h)     The term "document" means information that is fixed in a tangible

medium, such as paper. It includes, but is not limited to, writings, drawings, films,

charts, photographs, notices, memoranda, diaries, minutes, correspondence, books,

journals, ledgers, reports, worksheets, notes, printed e-mails, texts, scans, letters,

abstracts, audits, charts, checks, diagrams, drafts, instructions, lists, logs, resumes,


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summaries, and such other information fixed to a tangible medium or can be fixed

to a tangible medium.

       (i)    The term "electronically stored information" means electronic

information that is stored in a medium from which it can be retrieved and examined.

It includes, but is not limited to, all electronic files that are electronically stored.

              (i)    "Electronic file" includes, but is not limited to, the following:

voicemail messages and files; e-mail messages and files; deleted files; temporary

files; system history files; Internet or web-browser generated information stored in

textual, graphical, or audio format, including history files, caches, and cookies;

computer activity logs; metadata; Unless otherwise defined, each example used to

illustrate the term "electronic file" will have the meaning assigned to it by Webster's

Dictionary.

              (ii)   "Electronic storage" refers to electronic files contained on

       magnetic, optical, or other storage media, such as hard drives, flash drives,

       DVDs, CDs, tapes, cartridges, floppy diskettes, smart cards, integrated circuit

       cards (e.g., SIM card), and the like. Unless otherwise defined, each example

       used to illustrate the term "electronic storage" will have the meaning assigned

       to it by Microsoft Computer Dictionary

       (j)    Tangible thing. The term “tangible thing” means physical objects that

are not documents or electronically stored information.




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       (k)   The term "communication" means the transmittal of information in the

form of facts, ideas, inquiries, or otherwise.

       (l)   The term "relating" means concerning, referring, describing,

evidencing, or constituting, either directly or indirectly.

       (m)   The term "any" should be understood in either its most or its least

inclusive sense as necessary to bring within the scope of the discovery request all

responses that might otherwise be construed to be outside its scope.

       (n)   The connectives "and" and "or" should be construed either

conjunctively or disjunctively as necessary to bring within the scope of the discovery

request all responses that might otherwise be construed to be outside its scope.

       (o)   Number. The use of the singular form of any word includes the plural

and vice versa.

                                   II. Instructions

1.     Respond to each request for production separately by listing the materials and

by describing them as defined above. If the material is numbered or labeled for

production, in each response provide both the information that identifies the material

and the material's number or label.

2.     Produce documents and tangible things in the forms as they are kept in the

ordinary course of business or organize and number or label them to correspond with

the categories in the discovery request.




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3.     Produce electronically stored information in native format or single-page

searchable Adobe File Format and for documents that cannot be converted into

Adobe, notify requesting party of responding party's intended form of production

that is either reasonably usable or as it is ordinarily kept. For any electronically

stored information produced:

       (a)   Produce a discovery log that details the type of information, the source

       of the information, the discovery request to which the information

       corresponds, and the information's electronic ID number.

       (b)   Write all of the electronically stored information to a storage device

       such as a CD, DVD, USB or flash drive.

4.     For electronically stored information, identify every source containing

potentially responsive information that Defendant is not searching or producing.

5.     If objecting to a request for production, state the objection with particularity,

providing specific grounds for the objection.

6.     For any materials that Defendant asserts is privileged, protected, or otherwise

exempt from discovery, provide the following:

       (a)   The specific grounds for the claim of privilege, protection, or other

       exemption.

       (b)   The type of material being withheld, and, if the material is

       electronically stored information, the file format of the material.

       (c)   The subject matter of the material.

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       (d)   The date of the material.

       (e)   The name, job title, and address of the author of the material.

       (f)   The name, job title, and address of each addressee of the material.

       (g)   The name, job title, and address of each person who received, was

       copied on, or otherwise saw all, part, or a summary of the material.

       (h)   The name, job title, and address of the custodian of the material and

       the material's current location.

7.     For any materials that you claim no longer exist or cannot be located,

provide all of the following:

       (a)   A statement identifying the material.

       (b)   A statement of how and when the material passed out of existence or

       when it could no longer be located.

       (c)   The reasons for the material's nonexistence or loss.

       (d)   The identity, address, and job title of each person having knowledge

       about the nonexistence or loss of the material.

       (e)   The identity of any other materials evidencing the nonexistence or

       loss of the material or any facts about the nonexistence or loss.




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                     PLAINTIFF SAFETY VISION, LLC’S
                     FIRST REQUEST FOR PRODUCTION

REQUEST NO. 1: Produce all versions and drafts with revisions, edits, comments

or other marking or changes made to the ODM Agreement that is the subject of this

lawsuit prior to the effective date.


RESPONSE:

REQUEST NO. 2: Produce all materials and documents showing that Defendant

interviewed, consulted, discussed, or managed any employee, agent or consultant or

other third party after January 1, 2016 and prior to June, 2021 including journals,

calendars, notes, logs or other written record by Defendant or Lanner that they

performed any review, analysis, inquiry study or recommendations of the Product,

including but not limited to “Root Cause Analysis” or “Failure Analysis Report” or

“Corrective Action”.


RESPONSE:

REQUEST NO. 3: Produce all emails between Defendant and Lanner Electronics,

Inc. (either sent or received by Defendant) that mentions or relates to the ODM

Agreement for proposals, alterations, changes or suggestions to the Product or

related equipment to be made by Defendant, or by Lanner or its employees,

consultants or agents after the date of the ODM Agreement and prior to the filing of

this lawsuit.


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RESPONSE:

REQUEST NO. 4: Produce all materials and documents supporting the statements,

allegations and contentions Defendant made in the letter dated June 7,2021 from

Geoffrey Egger (see, LEI 000072) with respect to his asserted contention that

              “…LEI examined a large number of “returned as defective”
              devices. The results of the examination showed that the
              majority of the defective units were made defective by installer
              error”
including any such materials and documents dating from January 1, 2016 to prior

to the filing of this lawsuit.


RESPONSE:

REQUEST NO. 5: Produce a copy of any documents expressly referenced in the

ODM Agreement, including the Exhibits thereto and references as stated in the

Exhibits therein (see, LEI 00066-69).


RESPONSE:

REQUEST NO. 6:

Produce documents and materials in the nature of solicitations, marketing or

advertising materials, including emails, letters, faxes, brochures and catalogues,

received or issued by LEI between 2015 and June 7, 2021 for any bid solicitation

Defendant sought or any proposal submitted by it to any other potential or actual

transit type customer proposing to use the same or similar NVR product that is



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described as “Product” in the ODM Agreement.                 This would include

communications with Tactical Micro relating to its project with TriMet (Tri-County

Metropolitan Transportation).

RESPONSE:


REQUEST NO. 7: Produce documents relating to the terms of actual “repair the

defective product or part” by LEI as that term and provision is stated in the ODM

Agreement.

RESPONSE:


REQUEST NO. 8:

Produce documents and materials showing whom and when Defendant interviewed,

consulted, discussed, managed any consultant, third party, or vendors between 2015

and June 2021, including journals, calendars, notes, logs or other written record

showing Defendant engaged in any review or analysis tasks relating to the actual or

proposed specifications of the equipment that is the subject of ODM Agreement.

This request is primarily focused on the specifications set forth in the ODM

Agreement relating to the “Prototype” and “Gold Sample” as those terms are defined

in Sections 3.5 and 3.6 of the ODM Agreement (paragraph 11.1.2 (1)) for the years

2016 up to June, 2021 (the filing of the Lawsuit), by return RMA or other documents.


RESPONSE:



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REQUEST NO. 9: Produce documents relating to the actual deliver to customer an

“equivalent product or part to replace the defective item” by LEI as that term and

provision is stated in the ODM Agreement (paragraph 11.1.2 (2)) for the years 2016

up to June, 2021 (the filing of the Lawsuit), by return RMA or other documents.

RESPONSE:



REQUEST NO. 10: Produce copies of mobile and electronic device records (email,

phone and text messages) for the time period of June 2017 to June 2021 that were

sent to or received by Defendant and persons employed by Defendant from or to

Lanner by other transit customers regarding reported Product failures similar to the

failures as reported by SV.

RESPONSE:



REQUEST NO. 11: Produce a copy or transcription of all statements, oral or written,

that Defendant contends are attributable to Plaintiff, including audio or videotape

recordings.


RESPONSE:

REQUEST NO. 12 : Produce a copy or transcription of all statements, oral or written,

between LEI and Lanner, including audio or videotape recordings, discussing

product failures of the Product, whether reported by SV or others.


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RESPONSE:

REQUEST NO. 13:

Produce documents and materials showing the date and times (and frequency) of

Defendant’s actual access to the recorder settings and hard drive utilization, either

through wifi settings or cellular connectivity or in person, for all Product or

equipment installed on customer vehicles of SV.

RESPONSE:


REQUEST NO. 14: Produce all documents, emails, materials or reports that are in

Defendant’s or Lanner’s possession, custody, or control relating to notices allegedly

made by Defendant on or after January 1, 2016 to Plaintiff, or any person purportedly

acting as agent for any such persons, terminating the ODM Agreement.


RESPONSE:



REQUEST NO. 15: Produce all proposed contracts, amendments, proposals,

notices, applications or other documents that were arranged or submitted by

Defendant to Plaintiff or Plaintiff to Defendant between 2016 and June 2021 for

review or approval by Defendant or Plaintiff or both of the ODM Agreement.



RESPONSE:



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REQUEST NO. 16: Produce all contracts or other agreements executed between

Defendant and any other entity, person or business between 2015 and 2021 that

pertain to the same or similar parts or supplies utilized by LEI or Lanner in the design

and manufacturing of the Product with other customers or vendors, including but not

limited to Tactical Micro.



RESPONSE:

REQUEST NO. 17: Produce all materials and documents relating to the Product or

similar in design or functionality to the “Road Recorder 8000-Network Video

Recorder” (see, LEI 00001-057-sometimes referred to as NVR or RR 8000) prepared

or submitted by Defendant or Lanner relating to any sales distribution channel

through which Defendant’s or Lanner’s products or services were to be sold,

marketed, or promoted between 2016 and 2021.



REQUEST NO. 18: Produce all materials and documents relating to the classes or

categories of customers to whom Defendant promoted its products or services from

2016 to June 2021 similar to the Product and specifications described in the ODM

Agreement.

RESPONSE:




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REQUEST NO. 19: Produce all materials relating to the classes or categories of

customers to whom Defendant attempted to sell, market, or promote products or

services as the same or similar to the RR 8000 four (4) years before the issuance of

the ODM Agreement with Plaintiff.


RESPONSE:

REQUEST NO. 20: Produce documents, in summary form, relating to the dollar and

unit volume of sales of the Product to any other customer (other than SV) by

Defendant or Lanner between 2015 and 2021.


RESPONSE:

REQUEST NO. 21: Produce all materials relating to any formal or informal market

studies, surveys, polls, focus groups, or other studies by Defendant or Lanner of

servicing or responding to alleged product failures or warranty claims or the

provisions in other ODM similar agreements.



RESPONSE:




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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

      SAFETY VISION, LLC                      §
          Plaintiff,                          §
                                              §
      v.                                      §   CIVIL ACTION NO.
                                              §   4:21-cv-03306
      LEI TECHNOLOGY CANADA                   §
      AND LANNER ELECTRONICS,                 §
      INC.,                                   §
            Defendants.                       §



PLAINTIFF SAFETY VISION LLC’S FIRST SET OF INTERROGATORIES

To:   Defendant, Lei Technology Canada, through its attorneys of record:


      Staci Vetterling
      Darrell L. Barger
      HARTLINE BARGER L.L.P.
      1980 Post Oak Blvd., Suite 1800
      Houston, Texas 77056


      Safety Vision, LLC (“SV”), Plaintiff, by and through their attorney of

record, hereby serves this first set of Interrogatories on Lei Technology Canada

(“LEI”), as authorized by Federal Rule of Civil Procedure 33, Defendant must

answer the following Interrogatories (individually, “Interrogatory,” and

collectively, the “Interrogatories”), in writing and under oath within thirty (30)

days after service of these Interrogatories, at the office of their attorney as shown



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above or at the offices of Plaintiff’s attorney, or at another time and place agreed

on by the parties. These Interrogatories are subject to the Definitions and

Instructions below.

                                      Respectfully submitted,


                                      /s/ Patrick J. McGettigan
                                      Patrick J. McGettigan
                                      TX. State Bar No. 13624500
                                      Fed. Id. No. 7285
                                      2802 Flintrock Trace
                                      Suite 367
                                      Austin, Texas 78738

                                      512-476-1121 Telephone
                                      512-748-8371 Mobile
                                      pmcgettigan@inhousegc.com


                                      ATTORNEY FOR PLAINTIFF
                                      SAFETY VISION, LLC




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                         CERTIFICATE OF SERVICE

      This is to certify that on this the 9th day of October 2022, a true and correct
copy of the above and foregoing was served on all counsel of record in accordance

with the Federal Rules of Civil Procedure.

Staci Vetterling
svetterling@hartlinebarger.com

Darrell L. Barger
dbarger@hartlinebarger.com


HARTLINE BARGER L.L.P.
1980 Post Oak Blvd., Suite 1800
Houston, Texas 77056

                                                   /s/ Patrick J. McGettigan
                                                  Patrick J. McGettigan




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                        DEFINITIONS & INSTRUCTIONS

1.     The “Complaint” refers to the Original Petition filed in the District Court of
       Harris County, Texas._.

2.     “LEI” means Lei Technology Canada.

3.     Term or Terms.

Unless the context is otherwise:

       (a) The terms "you" and "your" mean the Defendant, LEI, a subsidiary of
Lanner Electronics, Inc. and Lanner Electronics, Inc., and its agents, representatives,
attorneys, experts, and other persons acting or purporting to act on Defendant’s behalf.

      (b) The term “Safety Vision” or “SV” means Plaintiff Safety Vision, LLC, a
Texas limited liability company.

      (c) The term “ODM Agreement ” means the contract dated January 7, 2016
and Exhibits thereto which agreement is referenced in Plaintiff’s Original Petition,
including any contract modification or amendment thereafter.

      (d) The term “equipment” or “Product” means as defined in the ODM Sec.
1.1 and Exhibit A, quoted as follows:
            Product: The term "Product" means the products
            described in Exhibit A and any other products provided
            to Company by LEI under this Agreement and related
            equipment and any revisions, enhancements and
            options thereto made available by LEI with Company
            consent.

      (e) The terms “specifications of the equipment or product” means, unless
otherwise stated, the technical specifications as set forth in the ODM Agreement and
written communications thereafter.

      (f)   The terms “performance reports” means those written documents
providing reports from LEI or Lanner, including but not limited to Root Cause, Root

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Cause Analysis, Corrective Action showing the data or other information from said
Products or other reports.

        (f.1) The term “reported Product failures” means and refers to the
communications made by and between SV and LEI/Lanner relating to proposals,
testing and efforts made by Safety Vision in response to customer complaints and
criticisms on or after June 2019 of the existing NVR recorder reported product failures.

4.     “Communication” means any transmission of information, including any

written communication, such as correspondence, telephone calls, electronic mail or

conversations.

5.     “Document” or “documents” means all forms of information within the

scope of discovery permitted by Federal Rule of Civil Procedure 34(a), including

all documents, things, Communications, and/or electronic materials.

6.     “Relating to” or “regarding” means directly or indirectly mentioning or

describing, or being connected with, referring to, or reflecting upon a stated subject

matter, document, event, or person.

7.     The term “any” includes each, every, and all persons, places, or thingsto which

the term refers.

8.     “and” and “or” are to be construed either conjunctively or disjunctively to

bring within the scope of these requests any information that might otherwise be

considered to be beyond their scope.

9.     The singular form of a word should be interpreted as plural, and the plural form

of a word should be interpreted as singular, to bring within the scope ofthese requests

any information that might otherwise be considered to be beyond their scope.
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10. “Identify,” “state,” and “describe” mean:

      i.     When used in reference to a natural person, it means to state theperson’s

             full name, business affiliation, and title and the

             person’s telephone number, residence address, and businessaddress.

      ii.    When used in reference to an entity other than a natural person,it means

             to state its full name, address of its principal office, and each of its

             present business addresses and telephone numbers.

      iii.   When used in reference to a document, it means to state: (a) thetype of

             document (e.g., letter, memoranda, recording, telegram,chart, etc.); (b)

             the name, address, business affiliation, and title of the author or signer

             thereof; (c) its date; (d) the name, address, business affiliation, and title

             of all addressees and recipients; (e) its present location; and (f) the

             name, present address, business affiliation, and title of the person

             having present custody thereof.

      iv.    When used in reference to a communication, it means: (a) to state the

             manner in which the communication occurred (e.g., by document, by

             telephone conversation, or by meeting); (b) if thecommunication was by

             document, to identify each person who sent and received the document

             and state the date on which andplace to which the document was sent

             and received; (c) if the communication was by telephone, to state the



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        date and place ofthe communication, identify each natural person who

        was present during all or part of the communication, and describe in

        detail the information communicated by each natural person; (d) if the

        communication was by meeting, to state the date and place of the

        meeting, and to describe in detail the information communicated by each

        natural person; and (e) if by means otherthan those described above, to

        identify   each     natural   person   who   provided    the   information

        communicated, to state the date on which the communication was sent

        and received, and to describe in detail the information communicated.

  v.    When used in reference to an act, it means: (a) to state with particularity

        each and every item of behavior which constitutesthe act, including the

        place, time, and date of each such item; (b) to identify each and every

        person participating in the act and to specify the items of behavior

        performed by each such person; and (c) to identify each and every

        document or communication which constitutes or describes the act or

        any part thereof.

  vi.   When used in reference to an omission to act, it means: (a) to state with

        particularity each and every item of behavior which You contend should

        have been performed and the place, time, and date of each such

        performance which should have occurred; (b) to identify each and every



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        natural person who, by reason of knowledge or particular circumstances,

        You content should have performed each item of omitted behavior; and

        (c) to identify each and every document or communication which You

        content intends to establish that the omitted act should have been

        performed.




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                       PLAINTIFF SAFETY VISION, LLC’S
                       FIRST SET OF INTERROGATORIES

1.      What is the name and address of the person(s) answering these interrogatories,

and, if applicable, the person’s official position or relationship with the party to whom

the interrogatories are directed?


ANSWER:


2.     Describe the specific acts required by the ODM Agreement that you contend

Plaintiff failed to perform.


ANSWER:


3.      For each specific act described in Interrogatory Number 2 above, explain in

detail how each of those requirements was not met.



ANSWER:



4.      Provide the date the ODM Agreement was terminated and the reason(s) if any,

given to Plaintiff for such termination.



ANSWER:



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5.      List the names and addresses of all persons who are believed or known by you,

of your agents or attorneys to have any knowledge concerning any of the performance

and warranty issues in this lawsuit and specify the subject matter about which the witness

has knowledge.



ANSWER:




6.      State the name, address, and telephone number of each person who has given

you, or anyone representing LEI interests in this lawsuit, a written or recorded

statement concerning any aspect of this lawsuit.



ANSWER:

7.      Describe in detail your responsibilities under the ODM Agreement as far as

designing, manufacturing and selling the Product (see, recital on page 1 of the ODM

Agreement)

ANSWER:




8.      Describe in detail Lanner’s responsibilities under the ODM Agreement as far

as manufacturing the Product.


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ANSWER:


9.       Describe in detail each time Plaintiff reported to you product failures, product

defects and assorted failures as alleged in the Complaint. For every occurrence, provide

the date, specific process or processes with which Defendant responded to such reports,

and the individuals involved.



ANSWER:


10.      Does Defendant LEI contend that it was not required, pursuant to the ODM

Agreement, to comply with all the Product specifications as outlined in the Exhibits

attached to the ODM Agreement and attached thereto,?



ANSWER:


11.     If your answer to Interrogatory 10 above is yes, please state with specificity
the following:

(a)        The Product specification with which LEI contends it was not required
to comply; ANSWER:
(b)        Identify all documents which support LEI’s contention and/or
interpretation; and, ANSWER:
(c)        Identify the individual with the most knowledge of LEI’s contention
and/or interpretation. ANSWER:




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12.      Describe the computation of damages you claim as part of this lawsuit and the

total amount of each category of damages you describe.



ANSWER:
13. Has anything been paid or is anything payable from any third party for the

damages listed in your answers to these Interrogatories? If so, state the amounts paid or

payable, the name and business address of the person or entity who paid or owes said

amounts, and which of those third parties have or claim a right of subrogation.



ANSWER:




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                                   VERIFICATION




STATE OF _____________
COUNTY OF


                                  , being duly sworn, states that he/she verifies that the

foregoing Answers to Interrogatories are true and correct.

DATED this               day of         , 2022.



                                                  NOTARY PUBLIC
                                                  My Commission Expires:




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